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Sean Canavan

28 August 2018

The Honorable Leo T. Sorokin
United States District Court

John Joseph Moakley Courthouse
1 Courthouse Way

Boston, MA 02210

Dear Judge Sorkin,

My name is Sean Canavan and I am wnting you on behalf of Ross McLellan. I am an
investment professional currently living in Boston with my wife and two children. I have
been in the securities business for over 25 years and have worked for firms such as
Fidelity, Tucker Anthony and State Street. It is at State Street, where I was an employee
for thirteen years, that I met and developed a personal and professional relationship with
Ross McLellan.

During my tenure at State Street I traded equities for the Transition Management
team, a group managed by Ross. In that capacity, I had almost daily interactions with
Ross and saw first hand how he managed and dealt with colleagues. Under Ross’s
leadership our work environment was professional, productive and enjoyable. Ross was a
demanding yet friendly, reasonable and compassionate manager.

I would like to share two experiences I had with Ross that speak to his character.
Early in my trading career at State Street, I made a large trading error that cost our firm a
significant amount of money. I went home that night worried about a meeting I would
have early the next moming with my direct manager and Ross. It was a humbling and
embarrassing mistake and I thought I was going to get fired, or at the very least, harshly
reprimanded. The next moming none of those things happened. Ross sat me down and
calmly asked me to explain what happened the day before and then told me to forget
about it. After that, we discussed ways to avoid such an occurrence in the future. With
some input from some other traders we came up with some new protocols that would
eliminate such errors in the future. I still fondly remember the way Ross handled this
situation. He not only helped me develop professionally but he improved the way our
desk operated going forward.

Later in my career at State Street, I ran into a personal situation at home that
desperately needed my attention and required me to take some time off. Unfortunately,
this was our busiest time of year and we really needed all hands on deck. I went to Ross
to explain my situation and I asked for a few days off. Without blinking, he told me to
take as much time as I need and come back when things were settled. I can’t tell you how
much this meant to my family and me. I will always remember this.

I considered Ross a great person to work for and with but he is also a great family
man and valuable community member. Much of his time is spent coaching or organizing
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sports activities for his kids. According to my sister who lives in Hingham, you can
always find Ross at a field or in arink, not just watching but coaching. In fact he has
coached his son] and my nephew [ij in hockey for a few years now. When not
coaching Ross spends much of his time raising funds for the town and other charity
organizations. I can’t speak highly enough of Ross and I appreciate the chance to provide
some insight into the type of person he is.

Kind Regards,

Sean Canavan

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